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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

  Case No.        CV 21-1809 MWF (JEMx)                                    Date: October 18, 2021
  Title       Raul Uriarte-Limon v. Angela Rodriguez, et al.


  Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                     Rita Sanchez                                        Not Reported
                     Deputy Clerk                                  Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                   Not Present                                        Not Present

  Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

          On October 1, 2021, the Court issued an Order to Show Cause that vacated
  the October 4, 2021 Order to Show Cause hearing and set a deadline for the parties
  to file responses regarding dismissal of this action. (Docket No. 41). The Court
  has reviewed the Declaration of Amanda Seabock in Response to Order to Show
  Cause (“Seabock Decl.”) and Declaration of Tiffany Hyatt Krog in Response to
  Order to Show Cause (“Krog Decl.”), filed October 15, 2021. (Docket Nos. 45 and
  46). It appears to the Court that pending execution of a final settlement agreement
  between all parties, this matter has settled.

        Recognizing that certain documents have been requested and not yet
  provided, the Court sets a hearing on Order to Show Cause Re Dismissal for
  November 15, 2021 at 11:30 a.m. If a stipulated dismissal as to the Complaint
  and Cross-Claim is filed on or before November 10, 2021, the matter will be
  taken off calendar and no appearances will be required.

          IT IS SO ORDERED.


                                                                           Initials of Preparer: RS/sjm




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